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                         Case No. 24-1204
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                                BEFORE THE
                    FEDERAL COMMUNICATIONS COMMISSION
                           WASHINGTON, DC 20554



In the Matter of                           )
Applications of TEGNA Inc., for Transfer   )         MB Docket 22-162
of Control to Standard General, L.P.       )

                    REPLY TO APPLICANTS’ CONSOLIDATED
                 OPPOSITION AND RESPONSE TO COMMENTS OF

                                THE NEWSGUILD-CWA

                     NATIONAL ASSOCIATION OF BROADCAST
                      EMPLOYEES AND TECHNICIANS-CWA

             UNITED CHURCH OF CHRIST MEDIA JUSTICE MINISTRY

                                               and

                                    COMMON CAUSE




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August 1, 2022




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                                  BEFORE THE
                      FEDERAL COMMUNICATIONS COMMISSION
                             WASHINGTON, DC 20554

In the Matter of                            )
Applications of TEGNA Inc., for Transfer    )       MB Docket 22-162
of Control to Standard General, L.P.        )

                 REPLY TO APPLICANTS’ CONSOLIDATED
              OPPOSITION AND RESPONSE TO COMMENTS OF
       THE NEWSGUILD-CWA, NATIONAL ASSOCIATION OF BROADCAST
       EMPLOYEES AND TECHNICIANS-CWA, UNITED CHURCH OF CHRIST
              MEDIAJUSTICE MINISTRY AND COMMON CAUSE


       The NewsGuild-CWA (“TNG-CWA”), the National Association of Broadcast Employees

and Technicians-CWA (NABET-CWA”), United Church of Christ, OC., Inc. doing business as

United Church of Christ Media Justice Ministry and Common Cause (collectively, “Petitioners”)

respectfully reply to Applicants' Consolidated Opposition and Response to Comments, filed in this

docket on July 7, 2022.
                                           SUMMARY

       The Applicants and their anonymous funders located in the Cayman and

British Virgin Islands have proposed a complex series of transactions designed to

weaken local journalism and jack up cable subscriber fees. Grant of their pending

applications will do nothing to create a more accurate, diverse or independent media.

       The Applicants ignore the principle that, for purposes of the standing inquiry,

factual assertions are assumed to be true, and that the merits of the claims are

assessed only after standing questions are resolved. In arguing that hardworking

people in the journalism industries and civil rights and democracy activists have no

right to participate in FCC proceedings, the Applicants do not even recognize, much
                                                1




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less discuss, established legal principles giving labor unions and voters’ organizations

standing to challenge each of the proposed station sales to protect their institutional

interests throughout the country. They then contort the entirely separate legal

framework governing associations’ ability to represent their members to suggest that

the possibility of decreased coverage of local news and information and the prospect

of increased pay-TV bills do not give the members the right to challenge the harms

that would result from grant of each of these pending applications throughout the

country.

      In their petitions to deny, TNG-CWA/NABET-CWA, UCC and Common

Cause discussed how the Applicants had failed to meet their burden of proving that

grant of the applications is in the public interest. The Applicants failed to give the

Commission or the public access to all the documents necessary to assess whether

Standard General would in fact control TEGNA post-transaction. Despite the

Applicants’ claims to the contrary, Petitioners showed that, even after the

Commission required the submission of some additional documents, many others that

were sought in the still-pending motion filed on May 12, 2022 must be submitted to

the Commission and the parties for review. Assessment of whether an investor or a

nominally passive shareholder or partner has de facto control is a case-by-case

determination. Without action on the May 12, 2022 motion, it is impossible to


                                            2




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know if there are covenants, options or other arrangements that would mean that

Apollo Global Management or other entities with undisclosed interests would have

control over TEGNA’s stations. This concern is only exacerbated by the fact that a

companion Petition for Declaratory Ruling seeks a waiver of Commission rules to

permit foreign ownership interests of up to 100% of the aggregate of the ultimate

licensee’s equity and voting interests.

      Petitioners demonstrated that increased consolidation at the national level will

adversely affect local markets throughout the nation, including in TEGNA markets.

The Applicants defend Standard General's stated plans to increase cookie-cutter,

nationally distributed content from a Washington "news desk," disregarding the

inevitable reduction in locally-originated programming. In the face of clear

indications that the claimed financial “synergies” arising from these transactions

depend on job reductions at the local level, the Applicants merely reiterate Standard

General’s vague and utterly unenforceable assurance that it has "no intention" to

reduce local employment headcounts across TEGNA's footprint.

      The Applicants’ silence confirms that Petitioners are correct that a driving

force behind the complex financial maneuvering in this case is Standard General’s

desire to manipulate so-called after acquired station clauses to jack up retransmission

fees for pay-TV operators. They make no effort to respond to Petitioners’ showing


                                           3




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that this is a novel issue for the Commission, and that prior case law involving

challenges brought by private party MVPDs is not on point. And, although

Petitioners conclusively establish that these increased fees are invariably passed on to

customers as specific line items on their monthly bills, the Applicants callously

disregard this public interest harm, saying that consumers can always avoid paying

increased cable bills by cancelling their service and using over the air antennas.

Leaving aside the fact that many viewers cannot receive local TV stations, including

TEGNA’s over the air, this would force subscribers to choose between watching over

the air local TV and accessing all the other nationally distributed news and

entertainment channels.

    I.      THIS TRANSACTION DOES NOT PROMOTE OWNERSHIP DIVERSITY AS
            IT IS UNDERSTOOD BY THE PUBLIC INTEREST AND CIVIL RIGHTS
            COMMUNITY, AND BY COMMISSION POLICY.

         The Applicants express concern that the Petitioners’ long-standing support for ownership

diversity means that they should automatically support a transaction as long as a woman or person

of color is at the helm of a transaction.1 As the civil rights community often explains,

“meaningful protection of civil rights and advancement of key policy objectives rely in great

measure on an accurate, diverse, and independent media that serves our constituencies.”2 The

proposed transactions will do nothing to create a more accurate, diverse or independent media.



1
 Opposition at 13-17.
2
 Leadership Conference on Civil and Human Rights, MB Docket No. 18-349, 2018 Quadrennial
Regulatory Review Comments at 1 (filed April 29, 2019). (“Leadership Conference 2018
Quadrennial Regulatory Review Comments”).
                                               4




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       Just as the Commission and the Supreme Court have consistently found, the Commission’s

public interest goals are not focused on promoting one kind of owner over another. Rather, it is

promoting antagonistic and competing viewpoints in a vibrant marketplace of ideas.3 One reason

the civil rights community and Petitioners oppose media concentration is that it results in fewer

owners, fewer points of view and fewer opportunities for smaller entrepreneurs, including

historically excluded entrepreneurs, to enter into the marketplace and compete against large

companies.4 Indeed, petitioners have consistently called on the Commission not to relax media

ownership limits in order to create more ownership opportunities for people of color and women.5

Therefore, the Commission’s media ownership diversity objectives are grounded in creating

pathways for multiple owners with multiple viewpoints and backgrounds to enter the marketplace.

A single owner controlling numerous stations throughout the country, producing news often far

from the local communities those stations serve and likely reducing the number of journalists (who

could be women, people of color, people with disabilities, members of the LGBTQ community to

name a few) would not produce diversity or advance the Communications Act's public interest

standard. Under the Applicants’ theory of diversity, the U.S. could achieve ownership diversity

through a single owner of all television and radio stations in the country as long as that owner is a

person of color or a woman. Further, this transaction does nothing to increase ownership

opportunities for women and people of color to enter the marketplace. To the contrary, the


3
  Associated Press v. United States, 326 U.S. 1, 20 (1945) (“the widest dissemination of
information from diverse and antagonistic sources is essential to the welfare of the public, that a
free press is a condition of a free society”).
4
  See Leadership Conference Quadrennial Review Comments at 9 (“Media concentration leads to
fewer owners and fewer entrepreneurial opportunities, while actions to tighten media ownership
rules will lead to more owners and more such opportunities for people of color, people with
disabilities, and women.”)..
5
  Id.
                                                  5




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applicants’ business model of laying off reporters and reducing local news coverage creates a race

to the bottom approach that would pose significant challenges for any new entrants to meaningfully

compete with TEGNA post-transaction and provide robust local programming.

       Petitioners, as well as the progressive and civil rights communities also support economic

success for all people, counteracting centuries of policies that exclude people of certain

backgrounds or with particular attributes from the opportunity to acquire and pass down wealth.6

Broad participation by members of historically excluded groups is not only just, but also a sign that

a market is robustly competitive.7 It is certainly a good thing that Mr. Kim is not barred by his

race from becoming a successful entrepreneur with the acumen and business relationships giving

him access to capital such that he is at the lead of this transaction. It is certainly a good thing that

Ms. McDermott is not barred by her gender to be selected to run a large corporation. Unfortunately,

it is rare for members of either of these groups to be in such a position. But a single large LLP or

corporation of the type proposed here is not going to ameliorate or address long-standing inequities

produced by structural racism, xenophobia or misogyny - and is not likely to provide additional

members of historically excluded groups the opportunity to gain wealth and influence in society.

The identity of the executives leading these companies should not and does not insulate a

transaction of this scope from a thorough and searching review by federal regulators. The

Commission should not conflate the identity of one or two business leaders regarding a transaction

that would further consolidate the marketplace with advancing its goals to promote ownership



6
  Center for American Progress, Eliminating the Black-White Wealth Gap Is a Generational
Challenge (Mar. 19, 2021), https://www.americanprogress.org/article/eliminating-black-white-
wealth-gap-generational-challenge/.
7
  See Fuse Media; et al., Petition for Rulemaking to Establish a Content Vendor Diversity Report,
MB Docket No. 22-209 at 7 (filed May 5, 2022).
                                                  6




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      diversity. Conflating the identity or one or two business leaders with the achievement of civil

      rights objectives is a serious error.

II.       ALL PETITIONERS HAVE STANDING IN ALL AFFECTED MARKETS AND
          NATIONALLY.

               The Applicants’ challenge to Petitioners’ standing has more bluster than substance, and does

      not accurately address the law on standing or Petitioners’ claims. Applicants make no persuasive

      case what-so-ever against Petitioners’ standing. They incorrectly:

           • describe petitioners’ burden of proof to establish harm giving rise to standing;

          •    claim that a harm giving rise to standing must be a factor relating to the transaction’s merits;

           • assume that “viewer” standing is the only kind of standing available at the FCC; and

          •    disregard the binding caselaw with respect to organizational and associational standing and
               the differences between them.

               Further, the Applicants’ claim that all information submitted to the Commission must be

      within the personal knowledge of the filers - without reliance on news reporting or information

      communicated by colleagues or through research - completely ignores the text of Section 309(d)(1)

      and would essentially end public participation by any petitioner in the non-profit or business

      communities.8 The Commission should also firmly reject such claims because Section 309(d)(1)

      explicitly permits facts “of which official notice may be taken,” need not be supported by affidavit

      of a person with personal knowledge. 47 U.S.C. § 309(d)(1).

               The failure of such sophisticated parties with experienced and sophisticated counsel to

      understand core standing doctrine and the relevant law underscores the need for the Commission to



      8
        Opposition at 8-9 (“The ‘Petitions’ suffer from a fatal lack of personal knowledge of any relevant
      facts …”); Opposition at 22 n. 56 (allegations about 87 layoffs is not based on personal knowledge
      but were based on website Radio Insight).
                                                        7




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clarify its standing rules and overturn the erroneous Nexstar precedent,9 as Petitioners have

requested.

     A. Petitioners have met their burden to establish harm

        The Applicants say that Petitioners “do not offer a shred of evidence to support their

assertions that the transactions will result in reduced news and jobs as a byproduct of media

consolidation.”10 However, even if the Applicants were right - and they are not - that is of no

moment in the Commission’s assessment of Petitioners’ standing:

        [I]n reviewing the standing question, the court must be careful not to decide the
        questions on the merits for or against the plaintiff, and must therefore assume that on
        the merits the plaintiffs would be successful in their claims.11

        The burden to establish standing to challenge an administrative proceeding in a court of appeals

is the same as that of a plaintiff moving for summary judgment.12 Moreover, “Article III standing

requirements do not apply to agency proceedings, and thus there is no reason for the facts supporting

standing to be a part of the administrative record.”13

        Affidavits and declarations are more than sufficient.14 And because the ramifications of the

transaction are substantial and material to the Commission’s public interest determination, the




9
   Nexstar Media Group, Inc., 34 FCCRcd 8436 (2019).
10
    Opposition at 9.
11
    City of Waukesha v. EPA, 320 F.3d 228, 235 (D.C. Cir. 2003) (citing Warth v. Seldin, 422 U.S.
490, 502 (1975); Am. Fed'n of Gov't Employees v. Pierce, 697 F.2d 303, 305 (D.C.Cir.1982)).
12
    Advocates for Highway and Auto Safety v. Federal Motor Carrier Safety Administration, No.
20-1370 (D.C, Cir. July 26, 2022) (slip op. at 11), 2202 WL 2920537 (citing Sierra Club v. EPA, 292
F.3d 895, 899 (D.C. Cir. 2002)).
13
    Prometheus Radio Project v. FCC, 939 F.3d 567, 578 (3d Cir. 2019), rev’d on other grounds sub
nom. FCC v. Prometheus Project, 141 S.Ct. 750 (2021) (citing U.S. Magnesium, LLC v. EPA, 690 F.3d
1157, 1164 (10th Cir. 2012)).
14
    Advocates for Highway and Auto Safety v. Federal Motor Carrier Safety Administration, supra,
(slip op. at 13).
                                                   8




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proper place to explore them is at hearing, where an Administrative Law Judge can consider the

questions in depth with the benefit of discovery.

       A. Harms giving rise to standing need not be the same as harms which go to the merits
          of the transaction

       Applicants dispute Petitioners’ standing, inter alia, because the harms alleged are not public

interest harms cognizable by the Commission in its review.15 But as UCC and Common Cause

explained in their Petition,16 the Supreme Court has held that the Commission cannot deny standing

to a party adversely affected even if the harm alleged by the party was not a harm the Commission

takes into account in considering the licensing decision.17 Standing establishes that parties have a

“stake in the outcome” of a proceeding or case,18 but the harms giving a party standing need not be

the same harms that the Commission evaluates in a transaction.

       B. Petitioners demonstrated organizational and associational standing—each under
          their own standard

       Applicants contest Petitioners’ standing without acknowledging the basic caselaw for

establishing standing. “An organization…can assert standing on its own behalf, on behalf of its

members or both.”19 There are two different claims at issue here. First, direct organizational



15
   Opposition at 10.
16
   UCC/Common Cause Petition at 3.
17
   FCC v. Sanders Brothers Radio Station, 309 U.S. 470, 476-77 (1940). In Prometheus Radio
Project v. Fed. Commc'ns Comm'n, supra, 939 F.3d at 580 (3d Cir. 2019), the Third Circuit held
that, even under the higher bar of Article III, “there is no requirement that the harm alleged be
closely tied to a challenger’s legal argument in order to have Article III standing.”)
18
   See Baker v. Carr, 369 U.S. 186, 204 (1962) (“The ‘gist of the question of standing’ is whether
the party seeking relief has ‘alleged such a personal stake in the outcome of the controversy as to
assure that concrete adverseness which sharpens the presentation of issues upon which the court so
largely depends for illumination of difficult constitutional questions.’”)
19
   Equal Rights Center v. Post Properties, Inc., 633 F.3d 1136, 1138 (D.C. Cir. 2011) (quoting
Abigail Alliance for Better Access to Developmental Drugs v. Eschenbach, 469 F.3d 129, 132 (D.C.
Cir. 2006)). See also Humane Society of the United States v. U.S. Department of Agriculture, No.
                                                    9




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standing can be conferred even when - in the example of corporations -the entity has no members at

all. Village of Arlington Heights v. Metropolitan Housing Dev. Corp., 429 U.S. 252, 261-63 (1977).

Second, associational standing (sometimes called representational standing) is standing established

on behalf of members who have standing individually but instead pursue their interests collectively

through the organization. Viewer-based standing for organizations is but one form of associational

standing that can be shown under the Communications Act - members who are viewers can show

standing. But, as UCC and Common Cause explained, the Commission cannot limit public

participation to viewer standing alone, and therefore must overrule language suggesting the contrary

in Nexstar-Tribune.20

       Notably, the Applicants do not even discuss Petitioners’ assertion of direct organizational

standing to challenge all of the station assignments throughout the nation, effectively conceding its

validity. While Applicants do attempt to rebut Petitioners’ associational standing based on the

harm to their members, they largely do so by challenging the validity of the factual and legal issues

raised in the petition to deny which, as explained above, is irrelevant.

           1. Direct organizational standing

       Supported by sworn declarations, TNG-CWA/NABET-CWA demonstrated that they have

direct organizational standing.21 They described how their ability to function as a labor union

would be harmed by grant of the applications.22 They also showed how TNG-CWA/NABET


20-5291, (D.C. Cir., July 22, 2022), 2022 WL 2898893 (slip op. at 6)(petitioner and members have
organizational and associational standing because “[e]ach alleges a concrete, pecuniary injury”).
20
   UCC/Common Cause Petition at 4.
21
   TNG-CWA/NABET at 8. (“TNG-CWA and NABET-CWA also have standing as
organizations.”)
22
   TNG-CWA/NABET-CWA Petition at 7-10. The declarations showed, inter alia, that TNG-
CWA/NABET-CWA members have skillsets that allow them to work at local broadcasting stations
and that consolidation reduces job opportunities for them. Id.
                                                 10




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expend resources lobbying to preserve jobs, and undertake other activities to promote job

opportunities in local journalism and broadcasting, including the creation and operation of TNG-

CWA’s Save the News Campaign,23 and that further loss of jobs will require them to expend

additional resources in such efforts.24 The injuries alleged are concrete and specific, and TNG-

CWA/NABET-CWA will be forced to redouble their resource investment in promoting local

journalism and local jobs in broadcasting to address them.25 These showings amply demonstrate

that their ability to fulfill their institutional functions will be “perceptibly impair[ed]” if the

applications are granted.26 Petitioner organizations themselves would be harmed by approval of

the applications without regard to any specific members.

        Common Cause discussed how the transaction would harm the ability of its staff and

leadership to advance democracy reforms.27 Common Cause staff who are unable to rely on paltry

or non-existent news coverage of legislation passing in state capitols or local cities must do more

work themselves to uncover non-responsive legislators or proposals that will harm democratic


23
   In a member survey launched with the Save The News campaign in 2020, 84% of respondent
NewsGuild-CWA members said they agreed or strongly agreed that public policy should discourage
or bar hedge fund ownership of news outlets. Further, for years The NewsGuild-CWA has actively
supported reporting on the financialization of news through its websites, See dfmworkers.org;
https://newsguild.org/save-the-news/. When members were asked what needs to happen for
journalism to thrive, one respondent said a focus should be "kicking the hedge funds and banks out
of the news industry." Another said, "hedge funds have got to go." Yet another said the priority
needs to "oust the hedge owners, invest in the newsrooms and pay a living wage to a diverse
workforce." Standard General is a hedge fund and The NewsGuild-CWA's members are
overwhelmingly against hedge fund ownership of local news.
24
   Declaration of Jon Schleuss, Exhibit A to Petition. (“The diminution of journalistic values and
the loss of journalistic jobs that would accompany grant of the pending applications would force
TNG-CWA to divert personnel and financial resources to its campaigns to protect and promote
local journalism. This in turn would interfere with TNG-CWA’s organizing efforts and its ability
to protect the welfare of its existing members.”)
25
   PETA v. U.S. Department of Agriculture, 797 F.3d 1087, 1084 (D.C. Cir. 2015)(
26
   Havens Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982).
27
   UCC/Common Cause Petition at 7-9.
                                                  11




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processes.28 The harm to Common Cause directly impairs its mission of responsive democracy and

forces the organization to spend more staff time and more financial resources promoting democracy

and democratic reforms.29 The harms are directly attributable to the transaction and would not

occur but for the transaction.30

       The Applicants say absolutely nothing in response. They do not even use the words

“organizational” or “institutional” in their pleading. Other than an unelaborated assertion that the

Petitioners’ “members cannot have ‘viewer standing’ if they do not reside in an affected market,”31

and an extremely puzzling reference to ‘taxpayer standing’”32 (something to which Petitioners

never alluded), the Applicants do not address Petitioners’ direct organizational standing. Instead,

they limit themselves to a few words claiming that the asserted harms asserted are “theoretical.”33

       Petitioners’ undisputed direct organizational standing means that Petitioners have standing

which is nationwide in scope, and applies to all the station assignments here at issue. It does not

depend on whether Petitioners are membership organizations (although they are), let alone members

who are viewers in the TEGNA markets. This is one key reason, as UCC Media and Common

Cause explained in their Petition, why Nexstar-Tribune is wrongly decided - the Commission may

not prohibit parties from asserting standing on bases other than viewership of local stations.34

Here, too, Applicants fail entirely to respond or otherwise defend the applicability and viability of

the Nexstar case.



28
   Id.
29
   Id.
30
   Id.
31
   Opposition at 9.
32
   Id.
33
   Id.
34
   UCC/Common Cause Petition at 2-5.
                                                  12




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       In short, the Applicants conceded that Petitioners have met all the requirements to establish

institutional standing, and that they are entitled to participate in this proceeding to challenge all of

the proposed assignments in this docket.

           2. Associational or representational standing

       Entirely separate from TNG-CWA/NABET-CWA’s and Common Cause’s organizational

standing, Petitioners have also shown that their members will incur harm as concerned citizens,

journalists and viewers, both because of the adverse impact of the proposed transactions on localism

and competition, and also because they face increased costs for pay-TV service as increased

retransmission fees are passed on to them as MVPD subscribers. Petitioners submitted numerous

declarations describing the harms to Petitioners’ members and how those harms relate to their

missions in accordance with Washington Apple.35

       Ignoring that the factual allegations supporting standing must be assumed to be true,

Applicants say that Petitioners’ members, and thus Petitioners, lack standing based on their interest

arising from the adverse effect of media consolidation, including loss of diversity in local news

coverage, even though the Commission has afforded standing on that basis for decades.36 In the

case of TNG-CWA/NABET-CWA) they say that the loss of job opportunities for journalists is

merely “theoretical.”37 But that, too, is an argument on the merits, not a reason to deny standing.

       Applicants also claim that Petitioners lack standing to seek redress for the likely increase in

cable subscription fees because increased pay-TV subscription costs are not a cognizable harm or a


35
   Hunt v. Washington State Apple Advertising Comm’n, 432 U.S. 333, 343 (1977).
36
   See, e.g., Tribune Company, 22 FCCRcd 21266, 21269 (2007) (“The cross-ownership rules were
adopted to promote diversity of ownership and, thereby, viewpoints, for the benefit of the public.
Accordingly, a…viewer...has standing to present an argument that he or she would be harmed if the
cross-ownership rules were waived.”),
37
   Opposition at 9.
                                                13




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public interest harm. Yet again, these are merits arguments; they are also wrong, as shown in

Petitioners’ merits argument in Section V, infra. They also say that, because many of Petitioners’

declarants do not subscribe to an MVPD and (as if it mattered) that vMVPD subscribers are not

harmed because networks typically negotiate program licenses for their affiliates rather than directly

with the vMVPDs.38 For what it is worth, the latter assertion may well be incorrect, or at least

incomplete.39 But much more fundamentally, this simply does not matter. Even excluding

vMVPDs, by Applicants’ own count Petitioners presented at least a dozen viewers’ declarations

averring that they have MVPD subscriptions,40 But as standing jurisprudence clearly shows, harm

to even one member of an organization is sufficient to demonstrate standing.41 In fact, a new

decision of the D.C. Circuit emphasizes the breadth of associational standing. In Advocates for

Highway and Auto Safety v. Federal Motor Carrier Safety Administration, the court found that an

anonymous survey of petitioner’s members was sufficient to demonstrate standing. The Court said

that this showing was “more than unsubstantiated generalizations,” because it “evidence[d] the

concrete injuries that individual members expected the rule would cause them to suffer.” It

explained that:

       To be sure, it is not enough to merely “aver that unidentified members have been
       injured.” But here we do not need to “speculat[e]” whether “one individual will
       meet all of the[ ] [standing] criteria[.]” The Teamsters submitted survey responses
       with direct quotations from individual members affected by the proposed changes to
       the short-haul requirement.42



38
   Opposition at 10.
39
   See p. 39 n. 84, infra.
40
   Opposition at 10-11, n. 25.
41
   Warth v. Seldin, 422 U. S. 490, 498-499 (1975). See also American Library Association v. FCC.
406 F.3d 689. 696 (D.C. Cir. 2005).
42
   Advocates for Highway and Auto Safety v. Federal Motor Carrier Safety Administration, supra
(slip op. at 14).
                                                14




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      Finally, and amazingly, Applicants also say that forcing subscribers to pay more for

pay-TV service to the public is a benefit, not a harm and, evidently, is thus not actionable.43

Putting aside how preposterous it is for the holder of an exclusive license, obtained free of

charge, to say that extracting monopoly rent is a feature, not a bug, and even accepting this

statement of opinion as a fact, this is a policy argument far outside the scope of any

discussion of standing.

           3. “Viewer standing” is just one form of associational standing

       Throughout their opposition, Applicants conflate “viewer standing” with

associational standing. It is thus very important to for the Commission to be clear in

recognizing that there are many other forms of injury that can be the basis of associational

standing.44 For example, while demonstrating that a viewer watches television may be the

simplest way to make a showing in support of standing, Common Cause’s members are

harmed by a lack of government accountability even if they do not watch television. If

many fewer people have access to much less local news holding state and local governments

accountable, those governments are less likely to be responsive to citizens. They need not

watch television to suffer harm. So, too, for TNG-CWA and NABET-CWA members need

access to local news and public affairs programming to function as professionals in the



43
   Opposition at 10.
44
   The Commission and the courts routinely afford associational standing in both rulemakings, see,
e.g., Children's Health Defense v/ FCC, 25 F.4th 1045, 1049 (D.C. Cir. 2022); Covad
Communications Company v. FCC, 450 F.3d 528, 547 n. 9 (D.C. Cir. 2006); American Library
Association v. FCC, supra, 406 F.2d at 696;Committee for Effective Cellular Rules v. FCC, 53 F.3d
1309, 1316 (D.C. Cir. 1995) and adjudications, see, e.g., Living Way Ministries, Inc., 23 FCCRcd.
15070, 15073 (2008) (petition to deny); Panhandle Eastern Pipeline, 4 FCCRcd 8087
(1989)(petition to deny). See also United States Telecom Association v. FCC, 295 F.3d 1326,
1330. (D.C. Cir. 2002)(declaratory ruling).
                                                15




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journalism industries. But not all of them can access the news and information they need

via over-the-air television as Applicants seem to believe.45 Applicants make wide-ranging

attempts to undermine standing based on increased retransmission fees and the increased

costs of pay television. As explained above, most of these are irrelevant to standing

because Petitioners need not demonstrate that their harms are cognizable reasons for the

Commission to deny the application. Nonetheless, these harms are also directly related to

TNG-CWA’s members’ ability to perform their jobs. Moreover, for the members of each

of the Petitioner organizations, these harms are pecuniary in nature, and in that regard do not

depend on members actually being viewers of TEGNA stations, or any over the air stations

at all. Rather, it is because they pay more for their subscriptions so they can watch

television at all, including other channels carried by the MVPD.

            Petitioners have amply shown that they possess standing and that the Commission

should make clear that members of the public may demonstrate standing using multiple

techniques and that the Commission must reject Nexstar-Tribune as inconsistent with

current law.

     III.      BASED ON THE CURRENT RECORD, THERE ARE SUBSTANTIAL AND
               MATERIAL QUESTIONS OF FACT AS TO WHETHER AGM WILL HAVE A
               POST-TRANSACTION ATTRIBUTABLE INTEREST.

            The Applicants have not met their burden of establishing that Apollo Global Media

(“AGM”) would not have an attributable interest in Standard General LP (“Standard General”), that

it otherwise will exercise excessive control over the TEGNA properties, or that it is otherwise in the

public interest. And, pending the outcome of final Commission action on the public interest

parties’ May 12, 2022 motion for seeking certain additional information not yet on the record, it is

45
  As discussed in Section V infra, many viewers cannot receive local over the air television
without an MVPD subscription.
                                               16




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not possible for the Commission to make the requisite public interest finding as to the true

ownership interests in this case.

       In their opposition, the Applicants respond to challenges with respect to the questionable

ownership structure that purports to confer full control of the TEGNA stations, denying that “the

Transactions...involve any ‘attempts to game’ the Commission’s ownership rules.46 They say that

the challenges

       fail to demonstrate any such “interlocking interests” or method by which AGM could
       actually exercise influence over TEGNA’s stations or any transaction-specific
       circumstance that would “increas[e] both the incentive for and ability of the parties
       to collude’....”47

They maintain that “Standard General will have a borrower/lender relationship with

AGM”48 and that “AGM will possess standard minority investor protections consistent with

those that have been approved countless times by the Commission,…”49

     The Applicants claim that the record is complete and that the petitioners and

commenters have

       had ample access to the transaction documents from the Applications, as well as (in
       the case of NewsGuild,..) access to highly confidential ancillary documents
       previously submitted to the Department of Justice and filed with the FCC in response
       to the June 3 Request, more than a week before the petition deadline,...”50

      To the contrary, the public, and even those parties that are signatories to the Protective

Order have not had “ample access to the transaction documents....” The Commission’s test

for assessing de facto control involves multiple elements.51 It is not possible to apply these



46
   Opposition at 24 (footnote citing TNG-CWA/NABET-CWA petition at 1 is omitted).
47
   Opposition at 25 (emphasis in the original)(footnote omitted).
48
   Opposition at 26.
49
   Id.
50
   Opposition at 22-23 (footnote omitted).
51
   See, e.g., Entertainment Media Trust, 34 FCCRcd 4351, 4663 (2019)/
                                                 17




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factors to assess the validity of the Applicants’ claims and to assess the degree of influence

that AGM will have over Standard General, LP (‘Standard General”) without access to

many more documents that will show what kind of covenants, options52 and other

provisions have been embedded in the documents that have not been submitted to the

Commission, much less shared with the public. Assurances that everything in these

arrangements are “standard” notwithstanding, the highly unusual nature of these transactions

requires deeper scrutiny than has been possible to date. Thus, in In SNR Wireless

LicenseCo, LLP v. FCC, 868 F.3d 1021, 1033 (D.C. Cir. 2017), the Court held that the

Commission correctly found that there was de facto control, saying that

       petitioners wrote into their contracts general terms that formally spoke to the six factors in
       ways that seemed to promise independence…but at the same time functionally belied those
       promises with specific contract terms empowering...[financiers]...to control and benefit from
       virtually all critical aspects....”

       Because of the many gaps in the record, on May 12, 2022, TNG-CWA joined with Common

Cause and Public Knowledge in filing a motion seeking additional information of the Applicants

and an extension of time for parties to evaluate such additional information. The staff took an

interim step on the motion, in a Public Notice dated May 20, 2022,53 stating that “While the Motion

remains pending and in light of the questions raised therein, we will grant a limited extension of the

petition to deny deadline for the underlying transaction.”54




52
   “[P]ut options in combination with other terms to an agreement deprive an otherwise qualified
control group of de facto control over the applicant. Thus, a “put” in combination with other terms
to an agreement may result in an applicant not retaining de facto control.” Fifth Memorandum
Opinion and Order, 10 FCCRcd. 403, 455 (1994).
53
   Media Bureau Extends Pleading Cycle for Applications to Transfer Control of TEGNA, Inc. To
Standard General, L.P., Public Notice, MB Docket No. 22-162. DA 22-603 (MB May 20, 2022).
54
   Id. at 1.
                                                  18




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       By letter to counsel dated June 3, 2022, the staff took another interim step on the motion,

directing the filing of some, but by no means all, of the information requested in the May 12, 2022

motion.55 The Letter Order does not mention, much less take final action, on the motion.

       It is clear from the Applicants’ response to the June 3, 2022 Letter Order, and their

opposition, that the information now on the record is insufficient to permit the requisite public

interest findings, including most particularly, resolution of the issues relating to the degree of

control that AGM and other unnamed investors may have over the operations of Standard General,

and whether they are in fact attributable owners or parties of interest.

       The Applicants maintain that they believe that these elaborately structured transactions fall

within the Commission’s definitions of attribution and control. However, without access to some

of the information which is requested in the pending motion, it is not possible to so conclude.

And, even more importantly, even if the proposed transaction falls within the Commission’s

guidelines, the requested information may reveal other elements establishing AGM’s control.

Staying within the Commission’s bright line attribution and other ownership rules set upper limits,

but that does not mean that grant of an application within those guidelines is necessarily in the

public interest.56 It is sometimes the case that a party in interest nominally within the

Commission’s guidelines can exercise effective ownership.

       W]hile certain provisions benefitting non-majority investors may not give rise to a transfer
       of control when considered individually, the aggregate effect of multiple provisions could be
       sufficient to deprive the control group of de facto control, particularly if the terms of such
       provisions vary from recognized standards.”57




55
   Letter to Scott R. Flick, DA 22-603 (June 3, 2022)(“Letter Order”).
56
   Assessing attribution involves “identify[ing] those interests in or relationships to licensees that
confer...a degree of influence or control such that the holders had a potential to affect the
programming decisions of licensees or other core operating functions.” Review of the
Commission's Regulations Governing Attribution of Broadcast and Cable/MDS Interests, 14
FCCRcd 12559 (1999).
57
   Fifth Memorandum Opinion and Order, supra, 10 FCCRcd.at 449
                                                   19




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       As a recent broadcast ownership report explains, “The attribution rules represent the

Commission's best judgment concerning when an interest is sufficient to confer on the owner a

potential degree of influence over a licensee....”58 However, the report also stresses that

“Attribution of an ownership interest to an individual or entity...in some instances, requires a

detailed case-by-case determination.59

       As TNG-CWA has pointed out in letters to President Biden, involvement of large hedge

funds headquartered in the Cayman Islands and the British Virgin Islands, thus necessitating a

waiver of the Commission’s foreign ownership limits, are flashing red lights that cry out for further

inquiry.60 Standard General and its financiers have failed to produce the documents detailing

whose money they invest and whether they agreed to cut costs at the expense of hardworking

Americans in order to pay the interest on. Transparency is a core tenet of good journalistic ethics;

the involvement of shadowy foreign investors must be explored at hearing. In this case, TNG-

CWA/NABET-CWA and other petitioners and commenters have raised significant questions about




58
   Fourth Report on Ownership of Broadcast Stations, 5 FCCRcd 1217, 1219 (MB 2020).
59
   Id. (citing notes to 47 CFR 73.3555). 47 CFR 73.3555 note 1 provides that “The words
‘cognizable interest’ as used herein include any interest, direct or indirect, that allows a person or
entity to own, operate or control, or that otherwise provides an attributable interest in, a broadcast
station.”
60
   TNG-CWA has called upon CFIUS and the Department of Justice to take on the serious
questions raised by this transaction and withhold their approval. See, Letter to President Biden
(July 25, 2022)(Exhibit B]. However, and quite separately, the Commission’s public interest
obligations require it to dismiss the applications or set them for hearing, TNG-CWA earlier sent a
somewhat similar letter to President Biden. See, Letter to President Biden (June 2, 2022)(Exhibit
C). As verified in the declaration of Jon Schleuss, Exhibit A hereto, the letter as posted on TNG-
CWA’s website erroneously indicated that the letter was also transmitted to the Commission and the
four sitting Commissioners. As the Applicants point out in their Opposition at 29, n. 85, the failure
to place such a letter in this docket would not have been consistent with the ex parte rules. But
since the letter was never sent to the Commission or anyone at the Commission, there has been no
transgression of the ex parte rules.
                                                   20




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the relationships between Standard General, AGM and other investors.61 As the May 12, 2022

motion argued, AGM and Standard General

       have structured the transactions in an effort to insulate the two acquiring groups and
       avoid attribution of the Standard General stations to Apollo, they also provide for
       two large loopholes through which Apollo can obtain access to competitively
       sensitive Standard General price information and influence Standard General by
       threatening to exercise its investor protections.62

To be more specific, and because of the relevance of what the pending motion says with respect to

ownership, TNG-CWA/NABET-CWA will quote from it at length:

        Another issue is that of Apollo's influence over the affairs of Standard General.
While the Applicants structured Apollo's supposedly non-voting stake in Standard General
so that it does not trigger attribution under the Commission's rules, the reality may be
different. First of all, a carefully circumscribed provision of the Term Sheet states that,
"for the avoidance of doubt, … employees of Apollo or any Apollo affiliate who are
members of the Board of Directors of CMG Holdings, Inc. or who otherwise participate in
the management of any Apollo affiliate's investment in CMG Holdings, Inc. shall not have
access to any Competitively Sensitive Information." But what about all other Apollo
employees? The implication is that they may be afforded access to Competitively
Sensitive information about Standard General's retransmission fee negotiations.
                 Second, even if the rights given Apollo were viewed as within the realm of
        legitimate minority rights, they should be viewed through the lens of these
        transactions' circumstances. Each of Standard General and Apollo periodically
        negotiates retransmission deals with cable, satellite, and over-the-top distributors.
        There is no guarantee that Apollo will not use the leverage of rights it is given to
        exact outcomes it wants in the retransmission fee area. While the
        Communications Act prohibits coordination of negotiations or negotiation on a joint
        basis by two or more television broadcast stations in the same local market, there is
        no guarantee that such indirect influence can even be detected and, even if it is, that
        it will be viewed as implicating that prohibition. In any event, coordination, direct
        or indirect, of retransmission fee tactics is even more insidious if it happens across
        local markets.
                 Finally, what happens in the event of a default, which in a period of
        economic uncertainty, inflation, market fluctuations, and rising interest rates, is a
        possibility not to be ignored? Would the Commission be approving these
        transactions only to be faced with a request for Apollo to exercise its security
        interests and acquire control of yet more stations, a request structured once more

61
   See TNG-CWA/NABET-CWA Petition to Deny at 29; UCC/Common Cause Petition to Deny at
28-29; ATVA Comments at 8; Graham Media Comments at 7.
62
   May 12, 2022 Motion at 3.
                                         21




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       with artifice in order to avoid the national ownership cap? Just as a mortgage
       lender may seize the home of a borrower who fails to make monthly payments, could
       Apollo seize control of broadcast TV stations in the event of a default by Standard
       General? And if so, how would that impact the Applicants' compliance with
       broadcast TV station ownership rules?63

       The scope of what has not been provided to the Commission is far greater than what has

been provided. The Commission’s Form 315 contemplates that both transferors64 and

transferees65 must certify that they must submit all transaction documents and that “these

documents embody the complete and final understanding between Transferor and Transferee;...”

       Rather than submit the necessary - and in this case, very material - information that would

permit a genuine evaluation of the proposed ownership structure, the Applicants did not provide the

certification asked for in Form 315. Following what is, unfortunately, normal practice in response

to the Form 315 question asking if the Applicant certifies that full documentation has been

provided, the Applicants answered “No.” Instead, citing the staff decision in LUJ, Inc., 17

FCCRcd 16980 (2002), they explained the “No” answer with standard language which appears,

more or less in this form, in countless transfer and assignment applications:

       The excluded documents and redactions contain proprietary information, duplicate
       information already included in the application or in the possession of the Commission or

63
    Id.at 8-10. See also Comments of ATVA at 9 (footnotes omitted). (“[T[he sheer complexity of
the transaction...makes it especially difficult for the Commission and the public to evaluate
Applicants’ claims. To take one example, Applicants assert that Cox will hold only 1.86 percent of
the combined equity and debt of New TEGNA, and entities otherwise affiliated with Apollo will
separately hold only 2.16 percent. Yet Applicants state that Cox and Apollo will hold roughly 25
percent of New TEGNA’s equity, and press reports indicate that these entities will hold 8.5 percent
of New TEGNA’s debt.”)
64
   “Transferor certifies that:
         (i) it has placed in Transferor's public inspection file(s) and submitted to the Commission as
         an Exhibit to this application copies of all agreements for the assignment/transfer of the
         station(s); (ii) these documents embody the complete and final understanding between
         Transferor and Transferee; and (iii) these agreements comply fully with the Commission's
         rules and policies.”
65
         Transferee certifies that:
         (a) the written agreements in the Transferee's public inspection file and submitted to the
         Commission embody the complete and final agreement for the sale or transfer of the
         station(s);;;;
                                                     22




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       are not germane to the Commission’s consideration of this application.        Copies of
       excluded documents will be provided to the Commission upon request, subject to the right
       of the parties to ask that the material submitted be held in confidence and not be made
       available for public inspection pursuant to applicable rules and policies of the Commission
       that restrict public access to confidential and proprietary information.66

The Media Bureau always, or at least nearly always, accepts such representations without question.

Counsel is not aware of any decisions in which the staff or the full Commission has found that

material claimed not to be germane in this manner should be submitted.67 Because these matters

are invariably handled at the staff level, the full Commission has never had occasion to contemplate

the adverse impact of the LUJ precedent.68

       The use - and abuse - of the LUJ precedent facilitates and enables an outrageous lack of

transparency as to the Commission’s regulation of broadcast ownership; it should be overruled, or at

the least, clarified. However, for immediate purposes, that is not necessary since, as is shown

here, there is no way to find that the entirety of the material that the Applicants have withheld from

the Commission is not essential to full consideration of the unusual practices indicated in what

material is available for public review.

       In this case, the excluded material covers many important materials relating to

retransmission consent, as well as documentation of certain agreements among the parties, the

subject and contents of which are not identified, that the Applicants have themselves deemed as

“non-germane.”69 Notwithstanding these gaps and shortcomings, the Commission’s June 3, 2022

Letter Order does not ask for sufficient information to establish that there are no issues with respect

to AGM’s influence over Standard General.


66
   Applicants’ Comprehensive Exhibit at 11 (footnote omitted).
67
   It is possible that there have been uncontested applications in which the staff has informally
requested submission of allegedly non-germane information, but it is not possible to know that
since, in the absence of opposition, such actions would have gone unreported.
68
   For but one example, applicants rarely, if ever, submit the sales price of a broadcast property to
the Commission, a very important piece of information that used to be routinely reported and in
trade publications.
69
   See FCC Form 315, Worksheet 2.
                                                   23




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       The need for greater disclosure is amplified in this case by the fact that the applications

cannot be granted without the benefit of a declaratory ruling that permits foreign ownership

interests of up to 100% of the aggregate of the ultimate licensee’s equity and voting interests. This

is far in excess of the ordinary 5%/10% limits.

       Petitioners are of the view that the Commission has been much too willing to bless excessive

foreign ownership interests in general, and in broadcast licensees in particular. In recent years,

events have demonstrated the downside of the non-citizens potentially having the ability to

influence domestic elections. Over the air broadcasting continues to be the most important source

of local news and information. Moreover, unlike all other media, Congress has integrated

broadcasters into the electoral process itself, mandating broadcasters to ensure that they afford equal

opportunities for all legally qualified candidates,70 provide the lowest unit charge for federal

candidates’ purchase of air time,71 and document their sales of air time to candidates and federal

issue advertisers.72

       However, whether or not recent Commission foreign ownership decisions were properly

decided, it is clear that grant of the pending applications as facilitated by grant to the requested

declaratory ruling would be a gross abuse of discretion in this case. The uncertainty of the sources

of funding in this case and the convoluted ownership structure makes it necessary to explore at

hearing who will actually be in control of TEGNA’s destiny. Vague descriptions saying that

“[a]pproximately 50% of the equity in Standard General will be held by three Cayman Islands

investment funds…and one British Virgin Islands investment fund…,”73 only raises more

questions. Absent access to the various covenants and other materials that have not been filed with

the Commission, it is scant assurance that, on paper, according to the Applicants, voting control will

be held by Mr. Kim.

70
   47 U.S.C. §315.
71
   47 U.S.C. §312(a)(7).
72
   47 U.S.C. §317.
73
   Amended Petition for Declaratory Ruling of Teton Parent Corp. at 3.
                                               24




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       Thus far, the scope of what has not been provided to the Commission is far greater than

what has been provided. While the Letter Order did, in effect, grant the May 12, 2022 motion in

part, the interim document requests it does contain are far more circumscribed than what is called

for in the pending motion, and it did not act on several other categories of information essential to

determining whether the proposed transactions are in the public interest. Thus, neither the

Applicants’ June 13, 2022 response to the Letter Order nor their Opposition come close to resolving

the issues that remain open.

       In addition to various items pertaining to the retransmission consent issues, among the

document requests specified in the May 12, 2022 motion, the Commission cannot determine the

exact nature of AGM’s relationship to Standard General without the following:

       •All documents, including presentations to Apollo and any other financial lending or
       investment institutions, (including, without limitation, apparent lenders to Standard
       General in this transaction, such as Goldman Sachs, Bank of America, Royal Bank of
       Scotland, Credit Suisse, and others) addressing each company's evaluation of this transaction
       (as well as alternative transactions considered among the companies), the motivating reasons
       for each company joining in the transaction, the reasons why the transaction would be
       advantageous to each company, and, specifically, any documents discussing the prospect
       that the transaction could affect the going-forward rate of fees charged to MVPDs or OVDs
       and availability of streaming video services and any documents discussing the cutting of
       staff, the diminution or displacement of local content, and the expansion of national content

       •All documents, including without limitation offering memoranda or prospectuses,
       used to market the proposed transactions to prospective investors or to secure
       funding

       •All analyses and documents relating to historic and projected future capital
       expenditures, personnel headcounts, and programming plans for each of the
       broadcast stations included in the applications

       •All documents concerning any actual or potential consolidation of news operations
       or services, including impacts on personnel headcounts

       •All documents or analyses addressing or relating to the use of "most-favored nation"
       ("MFN") or "after-acquired" clauses in retransmission consent agreements to
       establish pricing floors for retransmission rates in retransmission negotiations with
       other MVPDs

                                                  25




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            •A description of the economic value of each Series A investor, including a
            comparison with the total debt and equity of New TEGNA.

            •A list of all Series A investors and the economic value of their investments,
            including a comparison with the total debt and equity of New TEGNA.

            •A list of all restrictions on the rights of Series A and B investors;

            and

            •A list of all rights held by Series A and B investors.

            The latter four items are especially important here, as the record thus far has obscured the

relationship between Standard General and its funders. The Applicants stress in boldface that

“AGM is merely one of the seventeen entities providing funding for Standard General’s acquisition

of TEGNA.,...”74 Far from proving that there are no public interest issues here, this actually

demonstrates the need for far more disclosure of the identity and nature of those parties, as well as

any covenants, options or other provisions that any of them may be able to employ to gain control

of Standard General now, or in the event of a possible default.

            The Applicants have not met their burden of demonstrating that grant of their applications is

in the public interest because they have not submitted information sufficient for the Commission to

make that finding. Unless the Commission grants the pending May 12, 2022 motion, requires

submission of the requested documentation and then, after review by the parties and the

Commission, finds that the burden has been met, the applications must be dismissed or designated

for hearing.

      IV.      APPROVAL OF THE APPLICATIONS WILL CAUSE GRIEVOUS HARM TO
               LOCAL PROGRAMMING AND THE LOCAL JOB MARKET.

            Petitioners demonstrated that increased consolidation at the national level will adversely

affect local markets throughout the nation, including its TEGNA markets. They pointed to

Standard General’s stated plans to increase cookie-cutter, nationally distributed content from a

74
     Opposition at 24 (emphasis in the original).
                                                        26




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Washington “news desk,” thereby enabling it to reduce the amount of locally-originated

programming giving it the consequential ability to reduce levels of employment at the local stations.

As to the only example that Standard General can cite in its years-long involvement in local

broadcasting to show its commitment to local news is the fact that it introduced a local newscast at

its station in Cape Girardeau, MO, but Petitioners demonstrated that this newscast is in fact

produced and managed from Standard General’s Lincoln, NE station, more than 500 miles away.

       Notwithstanding the Commission’s policy making localism a central component of its public

interest analysis, Standard General responds that increasing the proportion of imported news content

in their local newscasts is a good thing. It reiterates that it has invested resources to produce.

Notably, it adds nothing new beyond its vague and utterly unenforceable assurance that it has “no

intention” to reduce local employment headcounts across TEGNA’s footprint, much less amending

its application to provide specific - and enforceable - employment commitments.

       It defies credulity to claim that news reported from around the country by reporters who

likely have little or no knowledge of the problems, needs and interests of the residents of the various

TEGNA markets is superior to what can be produced by a locally situated news department. It is

equally problematic to claim that news directors, editors and production staff situated many

hundreds of miles away can create a local newscast that is responsive to the needs of Cape

Girardeau. Nor is the net cost of creating that newscast especially substantial given that Standard

General had to share the cost of producing the KFVS-TV newscast that it previously simulcast.

Given that the KFVS-TV newscast is entirely locally produced, the addition of a few local reporters

receiving direction from Lincoln, NE the incremental local diversity benefit is modest. And, of

immediate relevance, as the only example to which Standard General can point to for showing its

commitment to localism, it is thin gruel, indeed.




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     V. THE INCREASED RETRANSMISSION FEES THAT WOULD RESULT FROM
        GRANT OF THE APPLICATIONS WILL BE PASSED ON TO SUBSCRIBERS AND
        IS THUS CONTRARY TO THE PUBLIC INTEREST.

       Petitioners have shown that the transaction before the Commission would employ a

carefully designed and otherwise meaningless sequencing of the license transfers for the sole

purpose of allowing Standard General to escalate its charges for MVPD and vMVPD program

carriage, and that such increased fees are almost invariably passed on to customers, most commonly

through separate line item fees expressly stated to be attributable to the passthrough of broadcast

program costs.

       In response, Applicants maintain that these are not cognizable harms because “broadcast

programming is available to viewers for free over the air,” and that MVPDs must “choose” to pass

on increased programming costs.75 They observe that, as Petitioners discussed, the Commission

has previously ruled that increased MVPD programming costs is a public interest harm, but they do

not mention, much less rebut, Petitioners’ explanation that those prior decisions arose from

challenges mounted by MVPDs alleging business harm or that the Commission has never

previously considered, or ruled upon, the pecuniary public interest harm that subscribers incur from

subscriber fee increases resulting from approval of transactions that trigger after-acquired station

and similar clauses.

       The most important thing about the Applicants’ discussion of retransmission consent is what

they do not say: they do not offer a word to deny or otherwise disclaim Standard General’s ability

or expectation to extract additional revenue by exercising after-acquired station and other


75
   Applicants’ irrelevant suggestion that the retransmission mandate in the Communications Act is a
good policy, and that pay-TV customers therefore should be happy to incur increased
retransmission fees to enhance broadcasters’ ability “to better serve their communities,” Opposition
at 10, is based on the flawed premise that broadcasters reinvest those revenues
                                                   28




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contractual clauses. Nor do they, or can they, claim that these fees are not passed on to

subscribers. Rather than address that, the Applicants devote a great deal of verbiage to attacking

their captive MVPD customers, saying that “there is no apparent reason for the Commission to step

in and deny one party the benefit of the negotiated bargain absent evidence of anticompetitive

practices or other wrongdoing.76

         The Commission surely will ignore this effort at misdirection. Petitioners base their

opposition on an entirely different harm to the public interest - increased customer subscription fees.

They are not asking the Commission to meddle in contractual negotiations; rather, they are asking

the Commission to protect Standard General from victimizing the public for the benefit of their

investors, regardless of how that comes to pass. The Cable Act’s retransmission consent regime is

designed to address the broadcasters’ inherent monopoly right to use publicly-owned spectrum,

which Standard General seeks to exploit to the next level. While this may well be characterized as

an anticompetitive practice, and what Standard General seeks to do is not necessarily unlawful,

Petitioners do not have to allege that there is “wrongdoing” to establish a public interest harm.

         It is easy to see what the Applicants seek to elide. Many lawful practices are contrary to

the public interest, as is what would result from grant of these applications. The remedy that

TNG-CWA/NABET-CWA seek is not reformulating contracts or the redress of any wrongdoing; it

is denial of the applications. That relief would leave all existing contracts in place exactly as they

have been negotiated.

         With respect to the harms that TNG-CWA/NABET-CWA members will incur through

increased pay-TV subscriptions, the Applicants maintain that these are not cognizable harms



76
     Opposition at 36.
                                                  29




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because “broadcast programming is available to viewers for free over the air,” and that MVPDs

must choose to pass on increased programming costs. They say that the Commission has

previously ruled that increased MVPD programming costs is a public interest harm, but they do not

mention, much less rebut, Petitioners’ explanation that prior decisions arose from challenges

mounted by MVPDs alleging business harm. What is relevant here is that the Commission has

never previously considered, or ruled upon, the pecuniary harm that subscribers incur from

subscriber fee increases. That is unquestionably a public interest harm which would arise only if

the Commission blesses this maneuver. It is one thing not to meddle in a private contractual

dispute, but quite another to function as an active enabler in allowing consumers to pay more for the

same thing. Petitioners do not dispute that private parties can negotiate to include after-acquired

station clauses and similar provisions in their contracts; rather, they say that it is contrary to the

public interest for the Commission to approve applications where the result is to increase prices for

consumers, especially where, as here, it is being asked to bless a convoluted series of transactions

clearly designed for the exclusive purpose of triggering such contractual provisions.

        It is of particular importance to note that at no point do the Applicants even try to dispute

that the petitions to deny and comments have established that the complicated transactions here at

issue, especially the odd transfer and retransfer of Boston station WFXT, were designed to exercise

contractual clauses that will jack up Standard General’s retransmission fees, or that Standard

General will in fact collect such revenues. Indeed, by arguing that the decision to pass on

increased retransmission fees to customers is a decision made by MVPDs, not Standard General, the

Applicants essentially confirm its intention to extract increased retransmission revenues as has been

alleged.


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       A       Loss of access to non-broadcast channels

       The notion that viewers can avoid incurring increased retransmission fees by cancelling their

MVPD subscriptions ignores the fact that the MVPD bundle includes many cable channels not

available over the air. Because the Commission has not adopted mandatory a la carte

requirements, viewers would be forced to choose between avoiding retransmission costs by

cancelling MVPD service and losing access to all non-broadcast channels, including popular news,

sports and entertainment channels.77    Thus, cutting the cord would create a different, but no less

significant, harm.

       B.      Challenges to receiving over the air signals

       Even if viewers were willing to sacrifice access to non-broadcast channels to avoid paying

increased retransmission fees passed on to them, Applicants are wrong that this would allow them

to watch TEGNA and other over the air stations in their community.

       While it is true that most viewers in a service area can receive free over the air signals from

most stations, that is not true for all viewers. It is well documented that a not insignificant number

of viewers are unable to receive over the air TV signals, even where in theory they ought to be able

to do so.78 The Commission itself is very familiar with this fact, as it regularly allows for the

substitution of channels precisely to help mitigate this problem when possible.79


77
   Even the handful of sub-basic subscribers have access to PEG and local origination channels that
cannot be obtained over the air.
78
   Indeed, since moving to Washington, DC in 2019, TNG-CWA President Jon Schleuss has been
unable to receive several area over-the-air stations with his antenna, including TEGNA’s WUSA-
TV, licensed to Washington, DC. As he explains in his Declaration (Exhibit A hereto), although he
lives within a few miles of the WUSA=TV transmitter in Washington, DC, and uses a high-quality
antenna affixed to his window, Mr. Schleuss often cannot receive the WUSA-TV signal. For
purposes of standing, Mr. Schleuss’ experience alone is sufficient to demonstrate that not all
viewers in the Washington, DC area can receive WUSA-TV over the air.
79
   See, e.g., Amendment of Section 73.632(j), Post-Transition Table of DTV Allotments, Television
                                                   31




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       There are many reasons why some viewers within a DMA and nominally considered to be

able to view an over the air (OTA) signal are in practice unable to do so.80 These include range,

antenna issues, topography, trees, certain kinds of building construction materials, nearly cell

towers and power lines and weather degradation.

       C.      Increased subscriber fees are traceable to the applicants’ practices

       The Applicants also argue that harm from increased retransmission fees is speculative, and

that it only happens when MVPDs “choose” to pass on these costs.81       Petitioners’ members, they

say, will not be harmed by approval of the applications because the decision to pass through

increased retransmission fees is made by MVPDs, not the broadcasters.

       The harm viewers incur is the direct consequence of broadcasters insisting on payment of

increased retransmission fees. Contrary to Applicants’ misstatement that Petitioners “assume

without question” that increased fees are passed on to subscribers, 82the undisputed evidence in the

record is that increased retransmission fees are, indeed, directly passed on to customers through

specific line item fees assessed by almost all MVPDs. It is beyond question that almost all


Broadcast Stations (Toledo, Ohio), 36 FCCRcd 4808 (“WLMB has regularly received complaints
from viewers unable to receive the station’s over-the-air signal on digital channel 5"). See also,
Amendment of Section 73.632(j), Post-Transition Table of DTV Allotments, Television Broadcast
Stations (Butte, Montana), 36 FCCRcd 11183 (2021)(similar); Amendment of Section 73.632(j),
Post-Transition Table of DTV Allotments, Television Broadcast Stations (Schenectady, New York),
36 FCCRcd 9849 (2021); Amendment of Section 73.632(j), Post-Transition Table of DTV
Allotments, Television Broadcast Stations (Redding, CA), 36 FCCRcd 7437 (2021)(similar).
80
   See, e.g., A Downside to Digital TV, The New York Times (Apr. 24, 2008),
https://www.nytimes.com/2008/04/24/technology/personaltech/24basics.html; “Many Obstacles to
Digital TV Reception, Study Says,” The New York Times (Feb. 11, 2008),
https://www.nytimes.com/2008/02/11/technology/11analog.html.
81
    It is equally true that the Applicants need not extract the highest possible rate from MVPDs; they
are perfectly capable to “choose” to charge less than the fully-contracted price. They can also
“choose” not to exercise retransmission rights at all and instead claim must-carry rights. See 47
U.S.C. §325(b) and 47 U.S.C. §534.
82
    Opposition at 40.
                                                     32




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MVPDs pass on these costs, and typically do so with a specific line item tied to the cost of

retransmission fees. Exhibit D has numerous examples of news articles, customer

communications and website notices from large and small MVPDs that expressly tie these fees to

increased retransmission fees. To quote but one example, Home Telecom’s website says that

       This fee is called the Broadcast TV Surcharge and is a direct pass-through of what
       the local broadcast stations charge Home Telecom to retransmit their station
       signals.83

       The Applicants also argue that the fact that some of Petitioners’ declarants subscribe to

vMPVD, that vMVPD program fees are negotiated by networks and not individual licensees, “and

thus [they] would be completely unaffected” retransmission fees imposed by Standard General.

Leaving aside the fact that this applies, at most, to only some of Petitioners’ members, Petitioners’

understanding is to the contrary.84

       C. Increased fees incurred by pay-TV subscribers is a cognizable public interest harm

       The Applicants make much of the fact that in prior cases involving challenges brought by

MVPDs, the Commission has failed to find that increases in retransmission fees is not a cognizable

public interest harm. In their petition to deny, TNG-CWA/NABET-CWA discussed those

decisions, saying that

               TNG-CWA and NABET-CWA believe those decisions were wrongly

83
  https://www.homesc.com/blog/346677/your-cable-costs-explained
84
    While the details of various broadcast programming license arrangements with vMVPDs are
private contractual matters not available to non-parties, it is Petitioners’ understanding that
applicable after-acquired station clauses would be affected by grant of the applications. DirecTV
and Dish have retransmission consent agreements for their DBS services; Petitioners believe these
agreements also cover their companion vMVPD services, DirecTV Stream and SlingTV. As such,
if those contracts contain after-acquired station clauses, any increased retransmission fees would be
applicable to those services as well. While it may be the case that networks negotiate
retransmission licenses for other vMVPDs such as YouTube TV, apparently affiliates can choose to
opt out of the network negotiated arrangements and negotiate separately with vMVPDs. This is but
one more factual issue that can be explored at hearing.
                                                   33




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       decided and should be overruled. However, it is not even necessary to overrule the
       earlier cases to reach a different result here, as there are two material differences.
       First, based on material submitted to the Commission by the Applicants, the record
       clearly establishes that the sequenced transactions here were explicitly designed to
       exploit existing contracts in a manner which was not within the scope of what was
       contemplated by the MVPD parties. Second, it is clear from the text of the
       decisions that the Commission, and then the staff, were addressing a different harm
       alleged by parties to arms-length contracts with the broadcasters. They had no
       occasion to reach the issue as it is presented here. TNG-CWA and NABET-CWA are
       not asking the Commission to intrude into a private contract dispute about allocation
       of revenues. Regardless of how those revenues are divided between those parties,
       the damage that the Commission must assess here is the cost to consumers, however
       they arise.85

       The Applicants’ lengthy discussion of the retransmission issues here do not address either of

these points. They pointedly fail to dispute that these transactions have been structured to extract

higher retransmission fees. And, despite TNG-CWA/NABET-CWA’s showing that increased

retransmission fees are almost always passed on to pay-TV customers, they do attempt to rebut

TNG-CWA/NABET-CWA’s argument distinguishing earlier cases because in none of them did the

Commission address the public interest implications of increased retransmission fees on pay-TV

customers.86

                                           CONCLUSION

       As Petitioners showed in their petitions to deny the Applicants have failed to meet their

affirmative burden of demonstrating that grant of their applications is in the public interest. Far

from rebutting this showing the opposition evidences an even stronger case as to why the proposed



85
   TNG-CWA/NABET-CWA Petition to Deny at 20;
86
  Overlooking these arguments, Applicants say that the only basis Petitioners advance to distinguish
prior decisions is that consumers currently face inflationary pressure. Opposition. at 39. But the
passages to which they cite are not the legal basis for the asserted distinction; rather, they merely
emphasize the importance of finding that there is a public interest harm. The Applicants also
whine that their electric bills are also going up, but unlike petitioners they can recover those costs
by further jacking up retransmission fees or by increasing their advertising rates.
                                                    34




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transactions are not in the public interest and presents numerous very substantial and very material

issues of fact which must be explored at hearing. Accordingly, Petitioners ask that the

Commission dismiss the applications or designate them for an evidentiary hearing.



                                                      Respectfully submitted,


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August 1, 2022




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                               CERTIFICATE OF SERVICE

       I, Andrew Jay Schwartzman, certify that on August 1, 2022, a copy of the foregoing was
served by electronic mail upon the following:

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